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Andrew M. Wagley, ISB #10277
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                           UNITED STATES DISTRICT COURT
                       DISTRICT OF IDAHO (NORTHERN DIVISION)

CODY J. SCHUELER, an individual,

                      Plaintiff,                   Case No. 2:22-cv-00389-DCN

      v.
                                                   DECLARATION OF ANDREW M.
FOUR SQUAREBIZ, LLC, a Wyoming                     WAGLEY IN SUPPORT OF MOTION
limited liability company, KEITH O.                FOR DEFAULT JUDGMENT
CREWS, an individual and the associated
marital community, MICAH EIGLER, an
individual and the associated marital
community, and JOHN AND JANE DOES
1-10,

                      Defendants.


      I, Andrew M. Wagley, hereby declare the foregoing is true and correct to the best of my

knowledge:

      1.       I am over the age of eighteen and competent to testify regarding the matters

               stated herein. I am attorney of record for Plaintiff, Cody Schueler. I make this

               Declaration in Support of Plaintiff’s Motion for Default Judgment.




   Declaration of Andrew M. Wagley                   ETTER, MCMAHON, LAMBERSON,
   in Support of Motion for Default                  VAN WERT & ORESKOVICH, P.C.
                                                            618 WEST RIVERSIDE AVENUE, SUITE 210
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   2.       Prior to the initiation of this litigation, I sent demand letters to Defendants on

            July 13, 2022. I also sent “follow up” letters on August 4, 2022. Defendants

            did not respond to either sets of letters.

   3.       This lawsuit was initiated via Complaint filed on September 12, 2022. (See ECF

            No. 1.) Defendant Keith Crews was personally served on September 15, 2022.

            (See ECF No. 8.) Defendant Four SquareBiz, LLC was served via its registered

            agent on September 28, 2022. (See ECF No. 7.)

   4.       The Clerk of the Court filed an Entry of Default against Defendants Keith Crews

            and Four SquareBiz, LLC on January 26, 2023. (See ECF No. 22.)

   5.       As such, both Defendants herein have been defaulted for not appearing. Based

            upon our due diligence and upon information and belief, none of the Defendants

            herein are minors, incompetent persons, or officers / agencies of the United

            States.

   6.       Defendants have not formally appeared in this matter, attempted to defend this

            litigation, or otherwise shown any meritorious defenses. Although not required

            by law, Defendants are being provided notice of Plaintiff’s Motion for Default

            Judgment via U.S. Mail and email.

   7.       All of the requirements of a Default Judgment—including those required by

            Eitel v. McCool, 782 F.2d 1470 (9th Cir. 1986) and as necessary to establish

            damages—are established fully in Plaintiff’s Motion for Default Judgment and

            accompanying papers.




Declaration of Andrew M. Wagley                          ETTER, MCMAHON, LAMBERSON,
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     8.       Based upon the foregoing, Plaintiff is entitled to Default Judgment against the

              remaining Defendants, jointly and severally, for the amount requested. Plaintiff

              is further entitled to recover costs and attorneys’ fees pursuant to District Local

              Rule Civ 54.2.

     I hereby declare the foregoing is true and correct under penalty of perjury of the laws of

the United States of America and State of Idaho.

     EXECUTED this 11th day of August, 2023 in Spokane, Washington.


                                            By: /s/ Andrew M. Wagley
                                               Andrew M. Wagley




  Declaration of Andrew M. Wagley                    ETTER, MCMAHON, LAMBERSON,
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                                CERTIFICATE OF SERVICE

     The undersigned certifies, under penalty of perjury of the laws of the United States, that

on the date given below, I caused to be served in the manner noted copies of the foregoing

document upon the following parties:

    Keith Crews                                      U.S. Mail
    1503 Scenic Overlook Court                       Facsimile
    Kennesaw, GA 30152                               E-Mail
                                                     Via Hand Delivery

    Four SquareBiz, LLC                              U.S. Mail
    C/o Registered Agents Inc.                       Facsimile
    30 North Gould Street, Suite R                   E-Mail
    Sheridan, WY 82801                               Via Hand Delivery


     EXECUTED this 11th day of August, 2023 in Spokane, Washington.


                                     By: /s/ Jodi Dineen
                                        Jodi Dineen




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